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✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                                                                       DISTRICT OF                                      Connecticut



                                      USA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                                  Elshazly                                                                             Case Number:     3:19-mj-1708 (RMS)

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Robert M. Spector                                                  Douglas P. Morabito                                       James P Maguire
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 04/30/2020                                                           D. Huntington                                           T. Murphy
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   1                  4/30/2020                         Full        Complaint

   2                  4/30/2020                         Full        Affidavit

                      4/30/2020                                     Plaintiff's Witness 1: Christopher Evans




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                      Page 1 of   1   Pages
